Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 1 of 59 Page ID #:780




                    EXHIBIT A
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 2 of 59 Page ID #:781




         Int. Cl.: 30

         Prior U.S. Cl.: 46
                                                                                        Reg. No. 1,221,105
         United States Patent and Trademark Office                                        Registered Dec. 21,1982


                                                     TRADEMARK
                                                     Principal Register



                                                       SKITTLES




         Mars, Incorporated (Delaware corporation)                For: CANDY, in CLASS 30 (U.S. Cl. 46).
         1651 Old Meadow Rd.                                      First use Mar. 10, 1971; in commerce Mar. 10,
         McLean, Va. 22102                                     1971.

                                                                 Ser. No. 305,850, filed Apr. 14, 1981.

                                                               RICHARD A. STRASER, Examining Attorney
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 3 of 59 Page ID #:782




     Int. CL: 30

     Prior U.S. CL: 46
                                                                           Reg. No. 2,535,714
     United States Patent and Trademark Office                                Registered Feb. 5, 2002


                                           TRADEMARK
                                       PRINCIPAL REGISTER




     MARS, INCORPORATED (DELAWARE COR­               THE DRAWING IS NOT LINED FOR COLOR.
        PORATION)                                  THE STIPPLING IS FOR SHADING PURPOSES
     6885 ELM STREET                               ONLY AND DOES NOT INDICATE COLOR.
     MCLEAN, VA 221013883

       FOR: CONFECTIONERY, NAMELY, CANDY, IN
                                                    SER. NO. 76-010,416, FILED 3-27-2000.
     CLASS 30 (U.S. CL. 46).

       FIRST USE 7-0-1982; IN COMMERCE 7-0-1982.
                                                   BARBARA A. LOUGHRAN, EXAMINING ATTOR­
       OWNER OF U.S. REG. NO. 1,687,121.            NEY
       Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 4 of 59 Page ID #:783




                                                                   states of 9^,.
                                                ®niteb States patent anb ®rabemarb Office




Reg. No. 4,377,303                                                WM. WRIGLEY JR. COMPANY (DELAWARE CORPORATION)
                                                                  1132 WEST BLACKHAWK STREET
Registered July 30, 2013                                          CHICAGO, IL 60642

Int. CL: 30                                                       FOR: CANDY, IN CLASS 30 (U.S. CL. 46).

                                                                  FIRST USE 12-0-2012; IN COMMERCE 12-0-2012.
TRADEMARK
                                                                  THE MARK CONSISTS OF THE WORD "SKITTLES" IN WHITE LEITERS OUTLINED IN
PRINCIPAL REGISTER                                                RED. AN "S" LENTIL - SHAPED PIECE OVER THE LETTER "I" IN THE WORD "SKITTLES"
                                                                  AND AN UPSIDE RAINBOW IN RED. ORANGE. YELLOW. GREEN. BLUE AND PURPLE
                                                                  BEHIND THE WORD "SKITTLES", WITH "S" LENTIL - SHAPED PIECES OVER THE
                                                                  RAINBOW IN RED. ORANGE, YELLOW. PURPLE AND GREEN.

                                                                  THE COLOR(S) WHITE, RED, ORANGE. YELLOW. GREEN. BLUE AND PURPLE 1S/ARE
                                                                  CLAIMED AS A FEATURE OF THE MARK.

                                                                  SN 85-547.164. FILED 2-20-2012.

                                                                  MARK RADEMACHER. EXAMINING ATTORNEY




Atting ntrrelor of the I Wtrd State* Patrol and Tmdrniaik (>mrr
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 5 of 59 Page ID #:784
                               REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                      TRADEMARK REGISTRATION

          WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
                 DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

      Requirements in the First Ten Years*
      What and When to File:

          •      First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
                accepted, the registration will continue in force for the remainder of the ten-year period, calculated
                from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
                federal court.

          •      Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                Application for Renewal between the 9th and 10th years after the registration date.*
                See 15 U.S.C. §1059.

      Requirements in Successive Ten-Year Periods*
      What and When to File:

          •      You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                every 9th and lOth-year period, calculated from the registration date.*

      Grace Period Filings*

      The above documents will be accepted as timely if filed within six months after the deadlines listed above
      with the payment of an additional fee.


        The United States Patent and Trademark Office (USPTO) will NOT send you any future notice or
                                     reminder of these filing requirements.

      *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
      an extension of protection to the United Slates under the Madrid Protocol must timely file the Declarations
      of Use (or Excusable Nonuse) referenced above directly with the USPTO. The time periods for filing are
      based on the U.S. registration date (not the international registration dale). The deadlines and grace periods
      for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
      Sec 15 U.S.C. §§1058. 1141k. However, owners of international registrations do not file renewal applications
      at the USPTO. Instead, the holder must file a renewal of the underlying international registration al ihe
      International Bureau of the World Intellectual Property Organization, under Article 7 of the Madrid Protocol,
      before the expiration of each ten-year term of protection, calculated from the dale of ihe intemalional
      registration. See 15 U.S.C. §114 Ij. For more informalion and renewal forms for ihe intemalional registration,
      see http://www.wipo.inl/madrid/en/.

      NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
      USPTO website for further information. With the exception of renewal applications for registered
      extensions of protection, you can file the registration maintenance documents referenced above online
      at http://www.uspto.gov.




                                                Page: 2 / RN # 4,377,303
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 6 of 59 Page ID #:785




                                       states of 3^,.
       Vx*                   ®niteb States patent anb ®rabemark Office




     Reg. No. 4,983,664               WM. WRIGLEY JR. COMPANY (DELAWARE CORPORAHON)
                                      1132 WEST BLACKHAWK STREET
     Registered June 21,2016          CHICAGO, IL 60642

     Int. CL: 30                      FOR: CANDY, IN CLASS 30 (U.S. CL. 46).

                                      FIRST USE 11-30-2013; IN COMMERCE 11-30-2013.
     TRADEMARK
                                      OWNER OF U.S. REG. NOS. 4,377,303 AND 4,393,854.
     PRINCIPAL REGISTER
                                      THE COLOR(S) RED,YELLOW, ORANGE, BLUE, PURPLE, AND GREEN IS/ARE CLAIMED
                                      AS A FEATURE OF THE MARK.

                                      THE MARK CONSISTS OF AN UPSIDE DOWN RAINBOW IN RED, ORANGE, YELLOW,
                                      GREEN. BLUE AND PURPLE.

                                      SN 86-148,847, FILED 12-19-2013.

                                      KAREN BRACEY, EXAMINING ATTORNEY




      Director of the United States
      Patent and Trademark Office
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 7 of 59 Page ID #:786




                                    REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                           TRADEMARK REGISTRATION
              WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
                     DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

          Requirements in the First Ten Years*
          What and When to File:

                      First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                     5th and 6th years after the registration date. See 15 U.S.C. §§1058. 1141k. If the declaration is
                     accepted, the registration will continue in force for the remainder of the ten-year period, calculated
                     from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
                     federal court.

                     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                     Application for Renewal between the 9th and I Oth years after the registration date.*
                     See 15 U.S.C. §1059.

          Requirements in Successive Ten-Year Periods*
          What and When to File:

                     You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                     every 9th and lOth-year period, calculated from the registration date.*

          Grace Period Filings*

          The above documents will be accepted as timely if filed within six months after the deadlines listed above
          with the payment of an additional fee.

          •ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
          an extension of protection to the United Stales under the Madrid Protocol must timely file the Declarations
          of Use (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
          (USPTO). The time periods for filing arc based on the U.S. registration date (not the international registration
          date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
          those for nationally issued registrations. See 15 U.S.C. §§1058, 114 Ik. However, owners of international
          registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
          underlying international registration at the International Bureau of the World Intellectual Property Organization,
          under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated
          from the date of the intcniational registration. See 15 U.S.C. §114 Ij. For more information and renewal
          fonns for the international registration, see http://www.wipo.int/madrid/en/.

          NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
          USPTO website for further information. With the exception of renewal applications for registered
          extensions of protection, you can file the registration maintenance documents referenced above online
          at http://www.usplo.gov .

          NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
          owners/holders who authorize e-mail communication and maintain a current e-mail address with the
          USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
          Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
          available at http://www.uspto.gov.




                                                     Page: 2 / RN # 4,983,664
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 8 of 59 Page ID #:787



      IntCL: 30

      Prior U.S. CL: 46
                                                                                         Reg. No. 1,000,007
      United States Patent OfSce                                                   Registered Dec. 17,1974


                                                  TRADEMARK
                                                  Principal Register



                                                  STARBURST

      Mars, Incorporated (Delaware corporation)               For: FRUIT CANDY, in CLASS 46 (INT. CL. 30).
      100 W. 10th St.                                         First use Mar. 21, 1966; in commerce Mar. 21, 1966.
      Wilmington, Del.
                                                              Ser. No. 449,666, filed Feb. 23. 1973.
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 9 of 59 Page ID #:788




          Int. CL: 30

          Prior U.S. Cl.: 46
                                                                                          Reg. No. 1,000,007
          United States Patent Office                                                  Registered Dec. 17, 1974


                                                      TRADEMARK
                                                      Principal Register



                                                      STARBURST

          Mars, Incorporated (Delaware corporation)               For: FRUIT CANDY, in CLASS 46 (INT. CL. 30).
          100 W. 10th St.                                         First use Mar. 21, 1966; in commerce Mar. 21, 1966.
          Wilmington, Del.
                                                                  Ser. No. 449,666, filed Feb. 23, 1973.
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 10 of 59 Page ID
                                  #:789


       Int Q.: 30

       Prior U.S. a.: 46
                                                                  Reg. No. 1,000,007
       United States Patent and Trademark Office            Registered Dec. 17,1974
       10 Year Renewal                            Renewal Term Begins Dec. 17,1994


                                   TRADEMARK
                               PRINCIPAL REGISTER




                                     STARBURST




       MARS, INCORPORATED (DELAWARE              FOR: FRUIT CANDY, IN CLASS 46
         CORPORATION)                         (INT. CL. 30).
       100 W. 10TH ST.                          FIRST USE 3-21-1966; IN COMMERCE
       WILMINGTON, DE                         3-21-1966.

                                               SER. NO. 72-449,666, FILED 2-23-1973.




                    In testimony whereof I have hereunto set my hand
                    and caused the seal of The Patent and Trademark
                    Office to be affixed on Feb. 21, 1995.




                    COMMISSIONER OF PATENTS AND TRADEMARKS
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 11 of 59 Page ID
                                  #:790




   Int. CL: 30

   Prior U.S. CL: 46
                                                                                   Reg. No. 1,000,007
   United States Patent Office                                                  Registered Dec. 17, 1974

                                               TRADEMARK
                                               Principal Register



                                               STARBURST

   Mars, Incorporated (Delaware corporation)               For: FRUIT CANDY, in CLASS 46 (INT. CL. 30).
   100 W. 10th St.                                         First use Mar. 21, 1966; in commerce Mar. 21, 1966.
   Wilmington, Del.
                                                           Ser. No. 449,666, filed Feb. 23, 1973.
    Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 12 of 59 Page ID
                                      #:791




        Int. Q.: 30

        Prior U.S. Cl.: 46
                                                                         Reg. No. 1,545,544
        United States Patent and Trademark Office                         Registered June 27,1989


                                         TRADEMARK
                                     PRINCIPAL REGISTER



                              StarDurst
       MARS, INCORPORATED (DELAWARE COR­            OWNER OF U.S. REG. NOS. 982,575, 1,000,007,
         PORATION)                                 AND 1,002,984.
       6885 ELM STREET
       MCLEAN, VA 22101
                                                     SER. NO. 756,140, FILED 10-5-1988.
          FOR: CANDY, IN CLASS 30 (U.S. CL. 46).
          FIRST USE 11-0-1982; IN COMMERCE         ROBERT F. GARCIA, EXAMINING ATTOR­
        11-0-1982.                                  NEY




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Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 13 of 59 Page ID
                                  #:792



   ■S   JUN    5 1995

                                           Mars, Incorporated

              'Address                     6885 Elm Street
                                           McLean, Virginia 22101-3883

              Date of First Use            June 1993

              Date of First Use
              Interstate Commerce          June 1993

              Goods                        Candy
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 14 of 59 Page ID
                                  #:793




     Registrant           Mars, Incorporated

     Address              6885 Elm Street
                          McLean, Virginia 22101-3883

      Goods               Candy

     Registration No.     1,545,544
  Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 15 of 59 Page ID
                                    #:794




                                            Wmteti States? patent anti ^raiiemarh Office




Reg. No. 4,179,436                                          WM W RIGLEY JR COMPANY (DELAWARE CORPORATION)
                                                            410 NORTH MICHIGAN AVENUE
Registered July 24,2012                                     CHICAGO, IL 60611

Int. CL: 30                                                 FOR CANDY, IN CLASS 30 (U S CL 46)

                                                            FIRST USE 12-0-2003, IN COMMERCE 12-0-2003
TRADEMARK
                                                            THE MARK CONSISTS OF THE LETTER "S" IN STYLIZED FORM
PRINCIPAL REGISTER
                                                            SER NO 85-502,058, FILED 12-22-2011

                                                            KATHLEEN LORENZO, EXAMINING ATTORNEY




Director ol the United States Patent and Trademark Office
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 16 of 59 Page ID
                                  #:795



                           REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                  TRADEMARK REGISTRATION
      WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
             DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

   Requirements in the First Ten Years*
   What and When to File:

       •      First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
             5th and 6th years after the registration date. See 15 U.S.C §§1058, 1141k If the declaration is
             accepted, the registration will continue m force for the remainder of the ten-year period, calculated
             from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
             federal court.

       •     Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
             Application for Renewal between the 9th and 10th years after the registration date.*
             See 15USC §1059

   Requirements in Successive Ten-Year Periods*
   What and When to File:

             You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
             every 9th and lOth-year period, calculated from the registration date.*

   Grace Period Filings*

   The above documents will be accepted as timely if filed within six months after the deadlines listed above
   with the payment of an additional fee.


     The United States Patent and Trademark Office (USPTO) will NOT send you any future notice or
                                  reminder of these filing requirements.

   *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
   an extension of protection to the United States under the Madnd Protocol must timely file the Declarations
   of Use (or Excusable Nonuse) referenced above directly with the USPTO The time periods for filing are
   based on the U.S. registration date (not the international registration date) The deadlines and grace periods
   for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations
   See 15U S C §§1058,1141k However, owners of international registrations do not file renewal applications
   at the USPTO Instead, the holder must file a renewal of the underlying international registration at the
   International Bureau of the World Intellectual Property Organization, under Article 7 of the Madrid Protocol,
   before the expiration of each ten-year term of protection, calculated from the date of the international
   registration Seel5USC §1141j For more information and renewal forms for the international registration,
   see http //www wipo mt/madnd/en/

   NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
   USPTO website for further information. With the exception of renewal applications for registered
   extensions of protection, you can file the registration maintenance documents referenced above online
   at http //www.uspto gov




                                            Page-2/RN# 4,179,436
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 17 of 59 Page ID
                                  #:796




                                                                states of anier,
        Vx*                                  ®niteb States patent anb ®rabemark Office




   Reg. No. 4,268,392                                          WM. WRIGLEY JR. COMPANY (DELAWARE CORPORATION)
                                                               1132 WEST BLACKHAWK STREET
   Registered Jan. 1, 2013                                     CHICAGO, IL 60642

   Int. Cl.: 30                                                FOR: CANDY. IN CLASS 30 (U.S. CL. 46).

                                                               FIRST USE 12-0-2003: IN COMMERCE 12-0-2003.
   TRADEMARK
                                                               OWNER OF U.S. REG. NO. 4.179.436.
   PRINCIPAL REGISTER
                                                               THE MARK CONSISTS OF THE LETTER "S" INSIDE A TEARDROP WITHIN A SQUARE.

                                                               SER. NO. 85-709.617, FILED 8-22-2012.

                                                               MICHAEL SOUDERS. EXAMINING ATTORNEY




   Director of the United Slate* Patent and trademark Office
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 18 of 59 Page ID
                                  #:797




                                 REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                        TRADEMARK REGISTRATION
           WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
                  DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

        Requirements in the First Ten Years*
        What and When to File:

                   First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                  5th and 6th years after the registration date. See 15 U.S.C. §§1058. 1141k. If the declaration is
                  accepted, the registration w ill continue in force for the remainder of the ten-year period, calculated
                  from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
                  federal court.

                   Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                  Application for Renewal between the 9th and 10th years after the registration date.*
                  See 15 U.S.C. §1059.

        Requirements in Successive Ten-Year Periods*
        What and When to File:

                  You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                  every 9th and lOth-year period, calculated from the registration date *

        Grace Period Filings*

        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        w ith the payment of an additional fee.


          The United States Patent and Trademark Office (USPTO) will NOT send you any future notice or
                                       reminder of these filing requirements.

        *ATTENTION MADRID PROTOCOL REGISTRANTS: The holderof an international registration with
       an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
       of Use (or Excusable Nonuse) referenced above directly w ith the USPTO. The time periods for filing arc
       based on the U.S. registration date (not the international registration date). The deadlines and grace periods
       for tlic Declarations of Use (or Excusable Nonuse) arc identical to those for nationally issued registrations.
       See 15 U.S.C. §§1058. 1141k. However, ow ners of international registrations do not file renewal applications
       at the USPTO. Instead, the lioldcr must file a renewal of the underlying international registration at the
       International Bureau of the World Intellectual Properly Organization, under Article 7 of the Madrid Protocol,
       before the expiration of each ten-year term of protection, calculated from the date of the international
       registration. See 15 U.S.C. § 1141j. For more information and renewal forms for the international registration,
       see http:/Avww.wi po. i nt/madrid/c n/.

        NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
        USPTO website for fu rther information. With the exception of renewal applications for registered
        extensions of protection, you can file the registration maintenance documents referenced above online
        at http://ww w. uspto.gov.




                                                  Page: 2 / RN # 4.268.392
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 19 of 59 Page ID
                                  #:798




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                                 ®niteb States? patent ant ^ratemark (Mice




   Reg. No. 4,625,960                      WM. WRIGLEY JR. COMPANY (DELAWARE CORPORATION)
                                           1132 W. BLACKHAWK ST.
   Registered Oct. 21, 2014                CHICAGO, IL 60642

   Int. CL: 30                             FOR: FROZEN CONFECTIONS, IN CLASS 30 (U.S. CL. 46).

                                           FIRST USE 2-28-2014; IN COMMERCE 2-28-2014.
   TRADEMARK
                                           THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR­
   PRINCIPAL REGISTER                      TICULAR FONT, STYLE, SIZE, OR COLOR.

                                           OWNER OF U.S. REG. NOS. 1,000,007 AND 1,545,544.

                                           SN 86-029,183, FILED 8-5-2013.

                                           MICHAEL ENGEL, EXAMINING ATTORNEY




    Deputy Director of the United States
      Patent and Trademark Office
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 20 of 59 Page ID
                                  #:799




                                 REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                        TRADEMARK REGISTRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
                   DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

        Requirements in the First Ten Years*
        What and When to File:

                   First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                  5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
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                  from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
                  federal court.

                  Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                  Application for Renewal between the 9th and 10th years after the registration date.*
                  See 15 U.S.C. §1059.


        Requirements in Successive Ten-Year Periods*
        What and When to File:

                  You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                  every 9th and lOth-year period, calculated from the registration date.*

        Grace Period Filings*

        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.


          The United States Patent and Trademark Office (USPTO) will NOT send you any future notice or
                                       reminder of these filing requirements.

        *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
        an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
        of Use (or Excusable Nonuse) referenced above directly with the USPTO. The time periods for filing are
        based on the U.S. registration date (not the international registration date). The deadlines and grace periods
        for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
        See 15U.S.C. §§1058,1141k. However, owners of international registrations do not file renewal applications
        at the USPTO. Instead, the holder must file a renewal of the underlying international registration at the
        International Bureau of the World Intellectual Property Organization, under Article 7 of the Madrid Protocol,
        before the expiration of each ten-year term of protection, calculated from the date of the international
        registration. See 15 U.S.C. § 1141j. For more information and renewal forms for the international registration,
        see http://www.wipo.int/madrid/en/.

        NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
        USPTO website for further information. With the exception of renewal applications for registered
        extensions of protection, you can file the registration maintenance documents referenced above online
        at http://www.uspto.gov.




                                                  Page: 2 / RN # 4,625,960
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 21 of 59 Page ID
                                  #:800


               Int. Cl.: 30
               Prior U.S. Cl.: 46                                              Reg. No. 115,895
               United States Patent and Trademark Office               Registered Mar. 20,1917
               10 Year Renewal                              Renewal Term Begins Mar. 20, 1997


                                            TRADEMARK
                                        PRINCIPAL REGISTER




                                              LIFE SAVERS




               NABISCO BRANDS COMPANY (DELA­               FOR:    [CHEWING-GUM.]    CANDY,
                WARE CORPORATION)                       [SWEETMEATS,] AND CONFECTIONS,
               ONE SOUTH WACKER DR.                     IN CLASS 46 (INT. CL. 30).
               SUITE 2740                                 FIRST USE 2-28-1913; IN COMMERCE
               CHICAGO, IL 60606, BY ASSIGNMENT,        2-28-1913.
                 MERGER. MERGER, CHANGE OF
                 NAME, ASSIGNMENT, ASSIGNMENT.           SER. NO. 71-096,594, FILED 7-15 1916.
                CHANGE OF NAME, ASSIGNMENT
                AND ASSIGNMENT FROM MINT
                 PRODUCTS COMPANY, INCORPO­
                RATED (NEW YORK CORPORATION)
                MANHATTAN, NY

                OWNER OF U.S. REG. NO. 93,080.




                              In testimony whereof I have hereunto set my hand
                              and caused the seal of The Patent and Trademark
                              Office to be affixed on Nov. 4, 1997.




                              COMMISSIONER OF PATENTS AND TRADEMARKS
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 22 of 59 Page ID
                                  #:801




         Registered Dec. 20, 1927.                                      Trade-Mark 236,694
         Renewed December 20. 19’2 to Life Savers Corporation, of
         Port Chester, Dew York, si.corporation of Delaware, which
         has made a showing of ownership of the trade-mark origi­
         nally registered to Life Savers, Inc.,




              UNITED STATES PATENT OFFICE.
                            LIFE SAVERS, INC., OF PORT CHESTER, NEW YORK.

                                          ACT OF FEBRUARY 20, 1905.

                               Application filed March 17,1927.   Serial No. 245,914.




                                              STATEMENT.
         To the Commissioner of Patents:                 accordance with the act of February 20th,
            Life Savers, Inc., a corporation duly or­    1905, as amended.
         ganized and existing by virtue of the laws        The trade-mark has been continuously
         of the State of New York, said corporation      used and applied to said goods in appli­
         located and doing business at Port Ches­        cant’s business and in the business of ap­
         ter, in the county of Westchester and State     plicant’s predecessors, since Dec. 29, 1921.
         of New York, has adopted and used the             The trade-mark is applied or affixed to
         trade-mark shown in the accompanying            the goods, or to the packages containing the
         drawing, for CANDY, CHEWING GUM,                same, by direct application to the goods, or
         AND CANDY AND CHEWING-GUM                       by tags, labels or wrappers on the goods
         CONFECTIONS, in Class 46, Foods and             or the packages containing the goods, on
         ingredients of foods, and presents herewith     which the trade-mark is shown.
         five specimens showing the trade-mark as
         actually used by the applicant upon the                             LIFE SAVEES, INC.,
         goods, and requests that the same be regis­                      By E. P. NOBLE,
         tered in the United States Patent Office in                                 Secretary.
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 23 of 59 Page ID
                                  #:802




      Int. Q.: 30
      Prior U.S. a.: 46
                                                                     Reg. No. 236,694
      United States Patent and Trademark Office              Registered Dec. 20,1927
      Renewal                                                 OG Date Jan. 24, 1989


                                   TRADEMARK
                               PRINCIPAL REGISTER




      NABISCO BRANDS, INC. (DELAWARE             FOR: CANDY [, CHEWING GUM,
       CORPORATION)                           AND CANDY AND CHEWING-GUM
      EAST HANOVER, NJ 07936, ASSIGNEE        CONFECTIONS], IN CLASS 46 (INT. CL.
       BY MESNE ASSIGNMENT, MERGERS           30).
       AND CHANGE OF NAME FROM LIFE             FIRST USE 12-29-1921; IN COMMERCE
       SAVERS, INC. (NEW YORK CORPO­          12-29-1921.
       RATION) PORT CHESTER, NY
                                               SER. NO. 245,914, FILED 3-17-1927.




                    In testimony whereof I have hereunto set my hand
                    and caused the seal of The Patent and Trademark
                    Office to be affixed on Jan. 24, 1989.




                    COMMISSIONER OF PATENTS AND TRADEMARKS
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 24 of 59 Page ID
                                  #:803

          it. Cl.: 30

          .S. Cl.: 46
                                                                                              Reg. No. 1,130,067
         LS. Patent and Trademark Office                                                                Reg. Jan. 29,1980


                                                     TRADEMARK
                                                     Principal Register




                                          X1

                                               \ '
                                               \l




        life Savers. Inc. (Delaware corporation)                      For; Pressed Mintsand Hard Candy—in Class 30. (U.S. Cl.
        40 W. 57th St.                                         46).
        New York. N.Y. 10019                                      First use Dec. 29. 1921; 1914 in a different form: tn
                                                               commerce Dec. 29, 1921.
                                                                  The lining and/or stippling shown is for shading purposes
                                                               only.
                                                                  The mark consists of the configuration of the gixxls with
                                                               the words "Life Saver" embossed thereon
                                                                  Owner of U.S. Reg. Nos 93,080, 1.033.180 and others.

                                                                      Ser. No. 178,009 Filed July 13, 1978.

                                                               JOHN C. DEMOS, Primary Examiner

                                                                RICHARD A STRASER. Examiner
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 25 of 59 Page ID
                                  #:804




       Int. Cl.: 30
       U.S. CL: 46
                                                                                            Reg. No. 1,130,067
       U.S. Patent and Trademark Office                                                              Reg. Jan. 29, 1980


                                                  TRADEMARK
                                                  Principal Register




       Life Savers, Inc. (Delaware corporation)                    For: Pressed Mints and Hard Candy —in Class 30. (U.S. Cl.
       40 W. 57th St.                                       46).
       New York. N.Y. 10019                                    First use Dec. 29, 1921; 1914 in a different form; in
                                                            commerce Dec. 29, 1921.
                                                               The lining and/or stippling shown is for shading purposes
                                                            only.
                                                               The mark consists of the configuration of the goods with
                                                            the words “Life Saver" embossed thereon.
                                                               Owner of U.S. Reg. Nos. 93,080, 1,033,180 and others.

                                                                   Ser. No. 178,009. Filed July 13, 1978.

                                                             JOHN C. DEMOS, Primary Examiner

                                                             RICHARD A. STRASER, Examiner
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 26 of 59 Page ID
                                  #:805




         Int. Q.: 30
         Prior U.S. a.: 445
                                                                      Reg. No. 1,130,067
         United States Patent and Trademark Office               Registered Jan. 29, 1980
         Amended                                                  OG Date Jan. 21, 1992


                                      TRADEMARK
                                  PRINCIPAL REGISTER




         NABISCO BRANDS, INC. (DELAWARE            THE MARK CONSISTS OF THE CON­
           CORPORATION)                          FIGURATION OF THE GOODS WITH
         7 CAMPUS DRIVE                          THE WORDS “LIFE SAVER” EM­
         PARSIPPANY, NJ 07054, ASSIGNEE BY       BOSSED THEREON.
           MESNE ASSIGNMENT FROM LIFE             SEC. 2(F).
           SAVERS, INC. (DELAWARE CORPO­
           RATION) NEW YORK, NY                   FOR: PRESSED MINTS AND HARD
                                                 CANDY, IN CLASS 30 (U.S. CL. 46).
          OWNER OF U.S. REG. NOS. 93,080,
        1,033,180 AND OTHERS.                      FIRST USE 12-29-1921; IN COMMERCE
          THE LINING AND/OR STIPPLING            12-29-1921.
        SHOWN IS FOR SHADING PURPOSES
        ONLY.                                     SER. NO. 73-178,009, FILED 7-13-1978.




                       In testimony whereof I have hereunto set my hand
                       and caused the seal of The Patent and Trademark
                       Office to be affixed on Jan. 21, 1992.




                   COMMISSIONER OF PATENTS AND TRADEMARKS
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 27 of 59 Page ID
                                  #:806




     Int. CL: 30
     Prior U.S. CL: 46
                                                                    Reg. No. 2,358,709
     United States Patent and Trademark Office                      Registered June 13, 2000


                                   TRADEMARK
                                PRINCIPAL REGISTER




                         LIFESAVERS
     NABISCO BRANDS COMPANY (DELAWARE COR­    FOR: CANDY, IN CLASS 30 (U.S. CL. 46).
       PORATION)                              FIRST USE 6-1-1999; IN COMMERCE 6-1-1999.
     1105 NORTH MARKET STREET
     SUITE 803                                SN 75-628,254, FILED 1-26-1999.
     WILMINGTON, DE 19801
                                             ANDREW EHARD, EXAMINING ATTORNEY
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 28 of 59 Page ID
                                  #:807




                                                                                                  of
                                                ®niteb States? patent ant ^ratemarb (Mice




                                     LIFE SAVERS GUMMIES
                                           COLLISIONS

   Reg. No. 4,214,036                                          WM. WRIGLEY JR. COMPANY (DELAWARE CORPORATION)
                                                               1132 WEST BLACKHAWK STREET
   Registered Sep. 25, 2012                                    CHICAGO, IL 60642

   Int. CL: 30                                                 FOR: CANDY, IN CLASS 30 (U.S. CL. 46).

                                                               FIRST USE 6-30-2011; IN COMMERCE 6-30-2011.
   TRADEMARK
                                                               THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR­
   PRINCIPAL REGISTER                                          TICULAR FONT, STYLE, SIZE, OR COLOR.

                                                               OWNER OF U.S. REG. NOS. 115,895, 2,605,971 AND OTHERS.

                                                               NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "GUMMIES", APART FROM
                                                               THE MARK AS SHOWN.

                                                               SER. NO. 85-577,789, FILED 3-23-2012.

                                                               MARK RADEMACHER, EXAMINING ATTORNEY




   Director of the United States Patent and Trademark Office
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 29 of 59 Page ID
                                  #:808




                                 REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                        TRADEMARK REGISTRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
                   DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

        Requirements in the First Ten Years*
        What and When to File:

                   First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                  5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
                  accepted, the registration will continue in force for the remainder of the ten-year period, calculated
                  from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
                  federal court.

                  Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                  Application for Renewal between the 9th and 10th years after the registration date.*
                  See 15 U.S.C. §1059.


        Requirements in Successive Ten-Year Periods*
        What and When to File:

                  You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                  every 9th and lOth-year period, calculated from the registration date.*

        Grace Period Filings*

        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.


          The United States Patent and Trademark Office (USPTO) will NOT send you any future notice or
                                       reminder of these filing requirements.

        *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
        an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
        of Use (or Excusable Nonuse) referenced above directly with the USPTO. The time periods for filing are
        based on the U.S. registration date (not the international registration date). The deadlines and grace periods
        for the Declarations of Use (or Excusable Nonuse) are identical to those for nationally issued registrations.
        See 15U.S.C. §§1058,1141k. However, owners of international registrations do not file renewal applications
        at the USPTO. Instead, the holder must file a renewal of the underlying international registration at the
        International Bureau of the World Intellectual Property Organization, under Article 7 of the Madrid Protocol,
        before the expiration of each ten-year term of protection, calculated from the date of the international
        registration. See 15 U.S.C. § 1141j. For more information and renewal forms for the international registration,
        see http://www.wipo.int/madrid/en/.

        NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
        USPTO website for further information. With the exception of renewal applications for registered
        extensions of protection, you can file the registration maintenance documents referenced above online
        at http://www.uspto.gov.




                                                  Page: 2 /RN# 4,214,036
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 30 of 59 Page ID
                                  #:809




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                      LIFE SAVERS GUMMIES TANGY
                              COLLISIONS


   Reg. No. 4,769,489                WM. WRIGLEY JR. COMPANY (DELAWARE CORPORATION)
                                     1132 W. BLACKHAWK STREET
   Registered July 7, 2015           CHICAGO, IL 60642

   Int. CL: 30                       FOR: CANDY, IN CLASS 30 (U.S. CL. 46).

                                     FIRST USE 1-2-2014; IN COMMERCE 1-2-2014.
   TRADEMARK
                                     THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO ANY PAR­
   PRINCIPAL REGISTER                TICULAR FONT, STYLE, SIZE, OR COLOR.

                                     OWNER OF U.S. REG. NOS. 3,462,916, 4,214,036, AND 4,321,642.

                                     NO CLAIM IS MADE TO THE EXCLUSIVE RIGHT TO USE "GUMMIES TANGY", APART
                                     FROM THE MARK AS SHOWN.

                                     SN 86-090,679, FILED 10-14-2013.

                                     KAREN BRACEY, EXAMINING ATTORNEY




    ''fist*

     Director of the United States
     Patent and Trademark Office
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 31 of 59 Page ID
                                  #:810




                                  REQUIREMENTS TO MAINTAIN YOUR FEDERAL
                                         TRADEMARK REGISTRATION

            WARNING: YOUR REGISTRATION WILL BE CANCELLED IF YOU DO NOT FILE THE
                   DOCUMENTS BELOW DURING THE SPECIFIED TIME PERIODS.

        Requirements in the First Ten Years*
        What and When to File:

                    First Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) between the
                   5th and 6th years after the registration date. See 15 U.S.C. §§1058, 1141k. If the declaration is
                   accepted, the registration will continue in force for the remainder of the ten-year period, calculated
                   from the registration date, unless cancelled by an order of the Commissioner for Trademarks or a
                   federal court.

                   Second Filing Deadline: You must file a Declaration of Use (or Excusable Nonuse) and an
                   Application for Renewal between the 9th and 10th years after the registration date.*
                   See 15 U.S.C. §1059.


        Requirements in Successive Ten-Year Periods*
        What and When to File:

                   You must file a Declaration of Use (or Excusable Nonuse) and an Application for Renewal between
                   every 9th and lOth-year period, calculated from the registration date.*

        Grace Period Filings*

        The above documents will be accepted as timely if filed within six months after the deadlines listed above
        with the payment of an additional fee.

        *ATTENTION MADRID PROTOCOL REGISTRANTS: The holder of an international registration with
        an extension of protection to the United States under the Madrid Protocol must timely file the Declarations
        of Use (or Excusable Nonuse) referenced above directly with the United States Patent and Trademark Office
        (USPTO). The time periods for filing are based on the U.S. registration date (not the international registration
        date). The deadlines and grace periods for the Declarations of Use (or Excusable Nonuse) are identical to
        those for nationally issued registrations. See 15 U.S.C. §§1058, 1141k. However, owners of international
        registrations do not file renewal applications at the USPTO. Instead, the holder must file a renewal of the
        underlying international registration at the International Bureau of the World Intellectual Property Organization,
        under Article 7 of the Madrid Protocol, before the expiration of each ten-year term of protection, calculated
        from the date of the international registration. See 15 U.S.C. § 1141j. For more information and renewal
        forms for the international registration, see http://www.wipo.int/madrid/en/.

        NOTE: Fees and requirements for maintaining registrations are subject to change. Please check the
        USPTO website for further information. With the exception of renewal applications for registered
        extensions of protection, you can file the registration maintenance documents referenced above online
        at http://www.uspto.gov.

        NOTE: A courtesy e-mail reminder of USPTO maintenance filing deadlines will be sent to trademark
        owners/holders who authorize e-mail communication and maintain a current e-mail address with the
        USPTO. To ensure that e-mail is authorized and your address is current, please use the Trademark
        Electronic Application System (TEAS) Correspondence Address and Change of Owner Address Forms
        available at http://www.uspto.gov.




                                                   Page: 2 / RN # 4,769,489
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 32 of 59 Page ID
                                  #:811




                 Int. Cl.: 30
                 Prior U.S. Cl.: 46                                            Reg. No. 239,311
                 United States Patent and Trademark Office              Registered Feb. 28, 1928
                 Amended                                                OG Date May 27, 2003

                                              TRADEMARK
                                          PRINCIPAL REGISTER




                                      SNICKERS
                 MARS, INCORPORATED (DELAWARE              FOR: CANDY COMPRISING CANDY
                   CORPORATION)                          BARS, IN CLASS 46 (INT. CL. 30).
                 6885 ELM STREET
                 MCLEAN, VA 221013883, BY MERGER
                   WITH AND CHANGE OF NAME                  FIRST USE 4-0-1923; IN COMMERCE
                   FROM MARS INCORPORATED (MIN­          4-0-1923.
                   NESOTA CORPORATION), DBA MAR-
                   O-BAR COMPANY, MINNEAPOLIS,
                   MN                                      SER. NO. 71-255,758, FILED 10-7-1927.




                                In testimony whereof I have hereunto set my hand
                                and caused the seal of The Patent and Trademark
                                Office to be affixed on May 27, 2003.




                        DIRECTOR OF THE U.S. PATENT AND TRADEMARK OFFICE
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 33 of 59 Page ID
                                  #:812




                 Int. Cl.: 30
                 Prior U.S. Cl.: 46                                           Reg. No. 1,270,149
                 United States Patent and Trademark Office             Registered Mar. 13, 1984
                 Amended                                                OG Date May 27, 2003

                                              TRADEMARK
                                          PRINCIPAL REGISTER




                 MARS, INCORPORATED (DELAWARE                FOR: CANDY, IN CLASS 30 (U.S. CL.
                   CORPORATION)                          46).
                 6885 ELM STREET
                 MCLEAN, VA 221013883                       FIRST USE 0-0-1966; IN COMMERCE
                   OWNER OF U.S. REG. NO. 239,311.       0-0-1966.
                   THE DRAWING IS LINED FOR THE
                 COLORS BROWN, RED AND BLUE.               SER. NO. 73-394,229, FILED 9-29-1982.




                                In testimony whereof I have hereunto set my hand
                                and caused the seal of The Patent and Trademark
                                Office to be affixed on May 27, 2003.




                        DIRECTOR OF THE U.S. PATENT AND TRADEMARK OFFICE
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 34 of 59 Page ID
                                  #:813




       Int. Cl.: 30

       Prior U.S. Q.: 46
                                                                   Reg. No. 1,563,583
       United States Patent and Trademark Office                     Registered oct. 31,1989


                                    TRADEMARK
                                 PRINCIPAL REGISTER



                                      SNICKERS




       MARS, INCORPORATED (DELAWARE COR-        FIRST USE 12-16-1987; IN COMMERCE
         PORATION)                            12-16-1987.
       6885 ELM STREET                          OWNER OF U.S. REG. NO. 239,311.
       MCLEAN, VA 221013883
                                               SER. NO. 708,516, FILED 2-1-1988.

         FOR: ICE CREAM FROZEN CONFECTIONS,   ROBERT F. GARCIA, EXAMINING ATTOR-
       IN CLASS 30 (U.S. CL. 46).
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 35 of 59 Page ID
                                  #:814




       Int. Q.: 30

       Prior U.S. Cl.: 46
                                                                        Reg. No. 1,593,286
       United States Patent and Trademark Office                          Registered Apr. 24, 1990


                                        TRADEMARK
                                    PRINCIPAL REGISTER



                                          SNICKERS




       MARS, INCORPORATED (DELAWARE COR­           OWNER OF U.S. REG. NOS. 239,311, 1,545,543
         PORATION)                                AND OTHERS.
       6885 ELM STREET
       MCLEAN, VA 22101
                                                    SER. NO. 73-825,403, FILED 9-14-1989.
         FOR: CANDY, IN CLASS 30 (U.S. CL. 46).
         FIRST USE 0-0-1923; IN COMMERCE          KENNETH D. BATTLE, EXAMINING ATTOR­
       0-0-1923.                                   NEY
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 36 of 59 Page ID
                                  #:815




       Int. CL: 30
       Prior U.S. CL: 46
                                                                          Reg. No. 2,061,849
       United States Patent and Trademark Office                           Registered May 13,1997


                                         TRADEMARK
                                     PRINCIPAL REGISTER



                                           SNICKERS




       MARS, INCORPORATED (DELAWARE COR­              FIRST USE 10-0-1996; IN COMMERCE
         PORATION)                                  10-0-1996.
       6885 ELM STREET                                OWNER OF U.S. REG. NOS. 239,311, 1,601,230,
       MCLEAN, VA 221013883                         AND OTHERS.

                                                      SN 74-594,954, FILED 11-4-1994.
        FOR: PREPARED DESSERTS, NAMELY
       CAKES AND PIES, IN CLASS 30 (U.S. CL. 46).   MICHAEL MASON, EXAMINING ATTORNEY
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 37 of 59 Page ID
                                  #:816




      Int. CI.: 30
      Prior U.S. CI.: 46
                                                                      Reg. No. 2,104,555
      United States Patent and Trademark Office                         Registered Oct. 14, 1997


                                       TRADEMARK
                                   PRINCIPAL REGISTER




      MARS, INCORPORATED (DELAWARE COR­           THE DRAWING IS LINED              FOR    THE
        PORATION)                                COLORS BROWN AND RED.
      6885 ELM STREET
      MCLEAN, VA 221013883
                                                  SER. NO. 74-676,401, FILED 5-18-1995.
        FOR: CANDY, IN CLASS 30 (U.S. CL. 46).
        FIRST USE 8-0-1988;    IN COMMERCE       DARLENE BULLOCK, EXAMINING ATTOR­
      8-0-1988.                                   NEY
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 38 of 59 Page ID
                                  #:817




                 Int. Cl.: 30
                 Prior U.S. Cl.: 46                                           Reg. No. 2,082,946
                 United States Patent and Trademark Office              Registered July 29, 1997
                 Corrected                                                OG Date July 6, 2004

                                              TRADEMARK
                                          PRINCIPAL REGISTER




                 MARS, INCORPORATED (DELAWARE              FOR: FROZEN CONFECTIONS, IN
                   CORPORATION)                          CLASS 30 (U.S. CL. 46).
                 6885 ELM STREET
                 MCLEAN, VA 221013883                       FIRST USE 0-0-1990; IN COMMERCE
                   OWNER OF U.S. REG. NO. 1,270,149      0-0-1990.
                 AND OTHERS.
                   THE DRAWING IS LINED FOR THE
                 COLORS BROWN AND RED.                     SER. NO. 74-728,494, FILED 9-13-1995.




                                In testimony whereof I have hereunto set my hand
                                and caused the seal of The Patent and Trademark
                                Office to be affixed on July 6, 2004.




                        DIRECTOR OF THE U.S. PATENT AND TRADEMARK OFFICE
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 39 of 59 Page ID
                                  #:818




      Int. CL: 30

      Prior U.S. CL: 46
                                                                             Reg. No. 2,911,432
      United States Patent and Trademark Office                                Registered Dec. 14, 2004


                                            TRADEMARK
                                        PRINCIPAL REGISTER




      MARS, INCORPORATED (DELAWARE COR­                THE MARK CONSISTS OF THE WORD "SNICK­
         PORATION)                                   ERS" IN STYLIZED BLUE LETTERS ON A WHITE
      6885 ELM STREET                                BACKGROUND WITH A RED AND BLACK BOR­
      MCLEAN, VA 221013883                           DER ATOP A TAN AND YELLOW FIELD OF
                                                     ALMONDS WITH A YELLOW BORDER. THESE
        FOR: CONFECTIONERY. NAMELY. CANDY. IN        ARE SITUATED AGAINST AN OFF-WHITE BACK­
      CLASS 30 (U.S. CL. 46).                        GROUND.
        FIRST USE 4-0-2003; IN COMMERCE 4-0-2003.

       OWNER OF U.S. REG. NOS. 239,311, 1,593,286,    SN 76-458,428, FILED 10-8-2002.
      AND OTHERS.

        THE MARK IS LINED FOR THE COLORS BLUE.
      BROWN, RED AND YELLOW.                         INGA ERVIN, EXAMINING ATTORNEY
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 40 of 59 Page ID
                                  #:819




      Int. CL: 30

      Prior U.S. CL: 46
                                                                        Reg. No. 3,063,755
      United States Patent and Trademark Office                           Registered Feb. 28,2006


                                      TRADEMARK
                                  PRINCIPAL REGISTER




      MARS, INCORPORATED (DELAWARE COR-          FIRST USE 8-0-1988; IN COMMERCE 8-0-1988.
         PORATION)
      6885 ELM STREET
      MCLEAN, VA 221013883                       SER. NO. 78-609,004, FILED 4-14-2005.

        FOR: CONFECTIONERY, NAMELY, CANDY, IN
      CLASS 30 (U.S. CL. 46).                   SANJEEV VOHRA, EXAMINING ATTORNEY
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 41 of 59 Page ID
                                  #:820




      Int. CL: 30

      Prior U.S. CL: 46
                                                                               Reg. No. 3,120,788
      United States Patent and Trademark Office                                  Registered July 25, 2006


                                            TRADEMARK
                                        PRINCIPAL REGISTER




      MARS, INCORPORATED (DELAWARE COR­                 OWNER OF U.S. REG. NOS. 239,311,1,563,583 AND
       PORATION)                                      OTHERS.
      6885 ELM STREET
      MCLEAN, VA 221013883                              THE MARK CONSISTS OF THE WORD SNICK­
                                                      ERS INSIDE A PARALLELOGRAM.
        FOR: FROZEN CONFECTIONS, IN CLASS 30 (U.S.
      CL. 46).                                          SER. NO. 78-750,753, FILED 11-9-2005.


        FIRST USE 3-14-2003; IN COMMERCE 3-14-2003.   JOHN WILKE, EXAMINING ATTORNEY
   Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 42 of 59 Page ID
                                     #:821




Reg. No. 5,047,574              Mars, Incorporated (DELAWARE CORPORATION)
                                6885 Elm Street
Registered Sep. 27, 2016        McLean, VA 221013883

                                CLASS 30: Confectionery, namely, candy
Int. Cl.: 30
                                FIRST USE 2-28-2007; IN COMMERCE 2-28-2007
Trademark
                                The color(s) brown and tan is/are claimed as a feature of the mark.
Principal Register
                                The mark consists of a cross-section ofa candy bar showing layers within the candy, namely,
                                a middle light brown layer containing several tan-colored peanut shapes and a bottom tan
                                layer, all surrounded by a brown layer. The mark depicts a distinctive two-dimensional cross­
                                sectional view of a candy bar

                                No claim is made to the exclusive right to use the following apart from the mark as shown:
                                THE SELECTION OF CANDY BAR INGREDIENTS DEPICTED IN THE MARK OR TO
                                THE CONFIGURATION OF A CANDY BAR CONTAINING THOSE INGREDIENTS,
                                EXCEPT AS DEPICTED IN THE APPLIED-FOR MARK

                                SEC.2(F)

                                SER. NO. 85-441,471, FILED 10-06-2011
                                JAMES B NEVILLE, EXAMINING ATTORNEY




Director of the United States
Patent and Trademark Office
           Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 43 of 59 Page ID
                                             #:822




                                                SNICKERS
    Reg. No. 6,465,002                                       Mars, Incorporated (DELAWARE CORPORATION)
                                                             6885 Elm Street
    Registered Aug. 24, 2021                                 Mclean, VIRGINIA 22101
    Int. Cl.: 5, 30                                          CLASS 5: Powdered nutritional supplement drink mix containing protein; protein
                                                             supplements formed and packaged as bars
    Trademark
                                                             FIRST USE 10-00-2020; IN COMMERCE 10-00-2020
    Principal Register
                                                             CLASS 30: Confectioneries, namely, snack foods, namely, chocolate; High-protein
                                                             cereal bars

                                                             FIRST USE 00-00-1923; IN COMMERCE 00-00-1923

                                                             THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                                                             ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                                                             OWNER OF U.S. REG. NO. 1593286, 2061849, 1563583

                                                             SER. NO. 90-034,971, FILED 07-03-2020




Performing the Functions and Duties of the
Under Secretary of Commerce for Intellectual Property and
Director of the United States Patent and Trademark Offic e
           Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 44 of 59 Page ID
                                             #:823




                                                SNICKERS
    Reg. No. 6,480,397                                       Mars, Incorporated (DELAWARE CORPORATION)
                                                             6885 Elm Street
    Registered Sep. 07, 2021                                 Mclean, VIRGINIA 22101
    Int. Cl.: 30                                             CLASS 30: high-protein cereal bars; high-protein chocolate bars
    Trademark                                                FIRST USE 10-00-2020; IN COMMERCE 10-00-2020
    Principal Register                                       THE MARK CONSISTS OF STANDARD CHARACTERS WITHOUT CLAIM TO
                                                             ANY PARTICULAR FONT STYLE, SIZE OR COLOR

                                                             OWNER OF U.S. REG. NO. 1593286, 2061849, 1563583

                                                             SER. NO. 90-064,137, FILED 07-21-2020




Performing the Functions and Duties of the
Under Secretary of Commerce for Intellectual Property and
Director of the United States Patent and Trademark Offic e
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 45 of 59 Page ID
                                  #:824




      Int. Cl.: 30

      Prior U.S. Cl.: 46
                                                                                      Reg. No. 1,272,036
      United States Patent and Trademark Office                                         Registered Mar. 27, 1984


                                                  TRADEMARK
                                                  Principal Register




      Mars, Incorporated (Delaware corporation)               For: CANDY, in CLASS 30 (U.S. Cl. 46).
      1651 Old Meadow Rd.                                     First use Jan. 1981; in commerce Jan. 1981.
      McLean, Va. 22102                                       Owner of U.S. Reg. Nos. 298,995 and 1,096,208.
                                                              The drawing is lined for the colors red and blue.

                                                               Ser. No. 390,425, filed Sep. 27, 1982.

                                                            CARLA CALCAGNO, Examining Attorney
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 46 of 59 Page ID
                                  #:825




      Int. Cl.: 30

      Prior U.S. CL: 46
                                                                       Reg. No. 1,683,918
      United States Patent and Trademark Office                         Registered Apr. 21, 1992


                                       TRADEMARK
                                   PRINCIPAL REGISTER



                                     3 MUSKETEERS




      MARS, INCORPORATED (DELAWARE COR­           OWNER OF U.S. REG. NOS. 298,995, 1,416,025
        PORATION)                                AND OTHERS.
      6885 ELM STREET
      MCLEAN, VA 22101
                                                   SER. NO. 74-175,594, FILED 6-13-1991.
        FOR: CANDY, IN CLASS 30 (U.S. CL. 46).
        FIRST USE    5-1-1932; IN COMMERCE
      5-1-1932.                                  RACHEL BLUE, EXAMINING ATTORNEY
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 47 of 59 Page ID
                                  #:826




     Int. CL: 30

     Prior U.S. CL: 46
                                                                              Reg. No. 2,675,569
     United States Patent and Trademark Office                                 Registered Jan. 14, 2003


                                           TRADEMARK
                                       PRINCIPAL REGISTER




     MARS, INCORPORATED (DELAWARE COR­                THE MARK IS LINED FOR THE COLORS RED
        PORATION)                                    AND BLUE.
     6885 ELM STREET
     MCLEAN, VA 221013883
                                                      THE MARK CONSISTS OF THE WORDS "3
       FOR: CONFECTIONERY, NAMELY, CANDY, IN         MUSKETEERS" IN STYLIZED FORM WITH THE
     CLASS 30 (U.S. CL. 46).                         DESIGNS OF A BANNER AND A SHIELD.

       FIRST USE 9-17-2001; IN COMMERCE 9-17-2001.
                                                      SN 76-260,501, FILED 5-21-2001.
      OWNER OF U.S. REG. NOS. 298,995, 1,683,918,
     AND OTHERS.                                     GI HYUN AN, EXAMINING ATTORNEY
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 48 of 59 Page ID
                                  #:827




      Int. CL: 30

      Prior U.S. CL: 46
                                                                                Reg. No. 3,338,622
      United States Patent and Trademark Office                                   Registered Nov. 20, 2007


                                            TRADEMARK
                                        PRINCIPAL REGISTER




      MARS, INCORPORATED (DELAWARE COR­                   THE MARK CONSISTS OF THE WORDS "3
         PORATION)                                      MUSKETEERS" IN STYLIZED FORM WITH A DE­
      6885 ELM STREET                                   SIGN OF A BANNER AND A SHIELD. THE NU­
      MCLEAN, VA 22101                                  MERAL 3 APPEARS IN THE COLOR RED IN THE
                                                        BLUE SHIELD OUTLINED IN WHITE. AND THE
        FOR: CONFECTIONERY. NAMELY. CANDY. IN           WORD MUSKETEERS APPEARS IN RED OUT­
      CLASS 30 (U.S. CL. 46).                           LINED IN WHITE ALL ON A SILVER METALLIC
                                                        BACKGROUND.
        FIRST USE 9-17-2001; IN COMMERCE 9-17-2001.

        OWNER OF U.S. REG. NOS. 298,995,2,675,569 AND    SER. NO. 77-105,462, FILED 2-12-2007.
      OTHERS.

         THE COLOR(S) RED. WHITE. BLUE AND SILVER
      IS/ARE CLAIMED AS A FEATURE OF THE MARK.          FRED MANDIR, EXAMINING ATTORNEY
   Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 49 of 59 Page ID
                                     #:828




Reg. No. 5,596,164                 Mars, Incorporated (DELAWARE CORPORATION)
                                   6885 Elm Street
Registered Oct. 30, 2018           Mclean, VIRGINIA 22101

                                   CLASS 30: Candy; Chocolate
Int. Cl.: 30
                                   FIRST USE 4-00-2018; IN COMMERCE 4-00-2018
Trademark
                                   The color(s) blue, red and white is/are claimed as a feature of the mark.
Principal Register
                                   The mark consists of a red numeral "3" outlined in white on a blue triangular
                                   background.

                                   OWNER OF U.S. REG. NO. 3338622, 2675569

                                   SER. NO. 87-029,222, FILED 05-09-2016




   Director of the United States
   Patent and Trademark Office
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 50 of 59 Page ID
                                  #:829




   Int. Cl.: 30

   Prior U.S. Cl.: 46
                                                                                   Reg. No. 1,161,203
   United States Patent and Trademark Office                                         Registered Jul. 14, 1981


                                               TRADEMARK
                                               Principal Register



                                               MILKY WAY



   Mars, Incorporated (Delaware corporation)                For: CANDY, in CLASS 30 (U.S. Cl. 46).
   Westgate Park                                            First use 1922; in commerce 1922.
   1651 Old Meadow Rd.                                      Owner of U.S. Reg. Nos. 196,182, 734,298 and
   McLean, Va. 22102                                     others.

                                                           Ser. No. 250,889, filed Feb. 20, 1980.

                                                         D. E. SHALLANT, Primary Examiner

                                                         JERRY L. PRICE, Examiner
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 51 of 59 Page ID
                                  #:830




     Int. CL: 30

     Prior U.S. CL: 46
                                                                                     Reg. No. 1,272,034
      United States Patent and Trademark Office                                        Registered Mar. 27, 1984


                                                 TRADEMARK
                                                 Principal Register




     Mars, Incorporated (Delaware corporation)                For: CANDY, in CLASS 30 (U.S. Cl. 46).
     1651 Old Meadow Rd.                                      First use 1968; in commerce 1968.
     McLean, Va. 22102                                        Owner of U.S. Reg. Nos. 196,182 and 1,161,203.
                                                              The drawing is lined for the colors green and
                                                           brown.

                                                              Ser. No. 390,421, filed Sep. 27, 1982.

                                                           CARLA CALCAGNO, Examining Attorney
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 52 of 59 Page ID
                                  #:831




         Int. Q.: 30

         Prior U.S. Cl.: 46
                                                                      Reg. No. 1,508,474
         United States Patent and Trademark Office                     Registered Oct. 11,1988



                                      TRADEMARK
                                   PRINCIPAL REGISTER



                                       MILKY WAY




         MARS, INCORPORATED (DELAWARE COR-        FIRST USE 12-16-1987; IN COMMERCE
           PORATION)                            12-16-1987.
         6885 ELM STREET                          OWNER OF U.S. REG. NOS. 196,182, 1,161,203
         MCLEAN, VA 221013883                   AND OTHERS.

                                                  SER. NO. 708,519, FILED 2-1-1988.
           FOR: ICE CREAM FROZEN CONFECTIONS,
         IN CLASS 30 (U.S. CL. 46).             LORI BOATRIGHT, EXAMINING ATTORNEY
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 53 of 59 Page ID
                                  #:832




                 Int. Cl.: 30
                 Prior U.S. Cl.: 46                                           Reg. No. 1,533,492
                 United States Patent and Trademark Office                Registered Apr. 4, 1989
                 Amended                                                  OG Date Aug. 4, 2009

                                              TRADEMARK
                                          PRINCIPAL REGISTER




                 MARS, INCORPORATED (DELAWARE              THE WORDS "MILKY WAY" APPEAR
                   CORPORATION)                          IN GREEN LETTERING OUTLINED ON
                 6885 ELM STREET                         WHITE BACKGROUND WITH A LIGHT
                 MCLEAN, VA 22101                        BROWN SWIRL, AND ALL OUTLINED
                                                         ON BROWN BACKGROUND.
                    OWNER OF U.S. REG. NOS. 543,740,
                 1,395,086 AND OTHERS.                       FOR: CANDY, IN CLASS 30 (U.S. CL.
                                                         46).
                   THE COLOR(S) BROWN, LIGHT
                 BROWN, GREEN AND WHITE IS/ARE               FIRST USE 10-13-1987; IN COMMERCE
                 CLAIMED AS A FEATURE OF THE             10-13-1987.
                 MARK.                                       SER. NO. 73-737,180, FILED 6-29-1988.




                                In testimony whereof I have hereunto set my hand
                                and caused the seal of The Patent and Trademark
                                Office to be affixed on Aug. 4, 2009.
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 54 of 59 Page ID
                                  #:833




       Int. Cl.: 30
       Prior U.S. Cl.: 46
                                                                      Reg. No. 2,316,816
       United States Patent and Trademark Office                         Registered Feb. 8, 2000


                                      TRADEMARK
                                  PRINCIPAL REGISTER




       MARS, INCORPORATED (DELAWARE COR­         OWNER OF U.S. REG. NOS. 1,161,203, 1,992,611
         PORATION)                              AND OTHERS.
       6885 ELM STREET                           THE STIPPLING IS A FEATURING OF THE
       MCLEAN, VA 221013883                     MARK AND DOES NOT INDICATE COLOR.

         FOR: CONFECTIONERY, NAMELY, CANDY,       SER. NO. 75-687,907, FILED 4-22-1999.
       IN CLASS 30 (U.S. CL. 46).
         FIRST USE 2-0-1999;      IN COMMERCE   KIMBERLY REDDICK, EXAMINING ATTOR­
       2-0-1999.                                  NEY
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 55 of 59 Page ID
                                  #:834




       Int. Cl.: 30
       Prior U.S. Cl.: 46
                                                                             Reg. No. 2,335,708
       United States Patent and Trademark Office                              Registered Mar. 28, 2000


                                            TRADEMARK
                                        PRINCIPAL REGISTER




       MARS, INCORPORATED (DELAWARE COR­                  THE DRAWING IS LINED FOR THE
         PORATION)                                      COLORS BROWN, ORANGE AND GREEN.
       6885 ELM STREET                                  THE COLOR OF THE BACKGROUND IS
       MCLEAN, VA 221013883                             LINED FOR THE COLOR BROWN, HOWEVER,
                                                        THE COLOR OF THE BACKGROUND IS
         FOR: CONFECTIONERY, NAMELY, CANDY,             CLOSER TO THE COLOR TAN.
       IN CLASS 30 (U.S. CL. 46).
         FIRST USE 2-0-1999; IN COMMERCE                 SER. NO. 75-687,905, FILED 4-22-1999.
       2-0-1999.
         OWNER OF U.S. REG. NOS. 1,161,203, 1,992,611   KIMBERLY REDDICK, EXAMINING ATTOR­
       AND OTHERS.                                        NEY
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 56 of 59 Page ID
                                  #:835




     Int. CL: 30
     Prior U.S. CL: 46
                                                                       Reg. No. 2,430,868
     United States Patent and Trademark Office                          Registered Feb. 27, 2001


                                     TRADEMARK
                                 PRINCIPAL REGISTER



                              MILKY WAY MIDNIGHT




     MARS, INCORPORATED (DELAWARE CORPORA­       FIRST USE 1-0-2000; IN COMMERCE 1-0-2000.
       TION)                                     OWNER OF U.S. REG. NOS. 1,272,034, 1,533,492,
     6885 ELM STREET                           AND 1,992,611.
     MCLEAN, VA 221013883
                                                 SER. NO. 75-729,497, FILED 6-15-1999.
       FOR: CONFECTIONERY, NAMELY, CANDY, IN
     CLASS 30 (U.S. CL. 46).                   KIMBERLY REDDICK, EXAMINING ATTORNEY
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 57 of 59 Page ID
                                  #:836




      Int. CL: 30

      Prior U.S. CL: 46
                                                                           Reg. No. 2,498,018
      United States Patent and Trademark Office                              Registered oct.   16,2001

                                           TRADEMARK
                                       PRINCIPAL REGISTER




      MARS, INCORPORATED (DELAWARE COR­             OWNER OF U.S. REG. NOS. 1,161,203, 2,316,816
         PORATION)                                 AND OTHERS.
      6885 ELM STREET
      MCLEAN, VA 221013883                          THE STIPPLING IS FOR SHADING PURPOSES
                                                   ONLY AND DOES NOT INDICATE COLOR.
        FOR: CONFECTIONERY, NAMELY, CANDY, IN
      CLASS 30 (U.S. CL. 46).                       SER. NO. 76-064,318, FILED 6-6-2000.

       FIRST USE 1-0-2000; IN COMMERCE 1-0-2000.   BRENDAN MCCAULEY, EXAMINING ATTORNEY
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 58 of 59 Page ID
                                  #:837




       Int. CL: 30

       Prior U.S. CL: 46
                                                                               Reg. No. 2,514,593
       United States Patent and Trademark Office                                  Registered Dec. 4, 2001


                                             TRADEMARK
                                         PRINCIPAL REGISTER




       MARS, INCORPORATED (DELAWARE COR­                 IN REGARD TO THE DRAWING, THE SWIRL IS
          PORATION)                                    LINED FOR THE COLORS PURPLE AND ORANGE.
       6885 ELM STREET                                 THE KEY LINING AROUND THE TERM "MILKY
       MCLEAN, VA 221013883                            WAY" IS LINED FOR THE COLOR PURPLE. THE
                                                       TERM "MIDNIGHT" AND THE ARROW WHICH
                                                       ARE UNDERNEATH THE TERM "MILKY WAY"
         FOR: CONFECTIONERY, NAMELY, CANDY, IN
                                                       ARE LINED FOR THE COLOR YELLOW. THE
       CLASS 30 (U.S. CL. 46).
                                                       STIPPLING IS FOR SHADING PURPOSES ONLY
                                                       AND DOES NOT INDICATE COLOR.
         FIRST USE 1-0-2000; IN COMMERCE 1-0-2000.
                                                        SER. NO. 76-064,319, FILED 6-6-2000.
        OWNER OF U.S. REG. NOS. 1,161,203, 2,316,814
       AND OTHERS.                                     BRENDAN MCCAULEY, EXAMINING ATTORNEY
Case 5:21-cv-00777-JWH-SHK Document 76-1 Filed 07/15/22 Page 59 of 59 Page ID
                                  #:838




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                                 (Hmteb States? patent ant ^rabemark (Mice




   Reg. No. 4,535,789                      MARS, INCORPORATED (DELAWARE CORPORATION)
                                           6885 ELM STREET
   Registered May 27,2014                  MCLEAN, VA 221013883

   Int. CL: 30                             FOR: CANDY, IN CLASS 30 (U.S. CL. 46).

                                           FIRST USE 12-31-1998; IN COMMERCE 12-31-1998.
   TRADEMARK
                                           OWNER OF U.S. REG. NOS. 1,161,203, 2,061,846 AND OTHERS.
   PRINCIPAL REGISTER
                                           THE COLOR(S) BROWN, GREEN AND WHITE IS/ARE CLAIMED AS A FEATURE OF THE
                                           MARK.

                                           THE MARK CONSISTS OF THE WORDS "MILKY WAY" IN GREEN AND BROWN LETTER­
                                           ING SURROUNDED BY WHITE ON A BROWN SWIRL DESIGN, ALL ON A BROWN
                                           BACKGROUND.

                                           SER. NO. 85-869,041, FILED 3-6-2013.

                                           CAROLINE WOOD, EXAMINING ATTORNEY




    Deputy Director of the United States
      Patent and Trademark Office
